                        Case 3:23-cv-03417-VC         Document 238         Filed 10/24/24   Page 1 of 6



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                   15
                                                   UNITED STATES DISTRICT COURT
                   16

                   17                           NORTHERN DISTRICT OF CALIFORNIA

                   18                                   SAN FRANCISCO DIVISION

                   19   RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

                   20      Individual and Representative Plaintiffs,        STIPULATION AND [PROPOSED] ORDER RE
                                                                            SCHEDULE
                   21          v.

                   22   META PLATFORMS, INC., a Delaware
                        corporation;
                   23
                                                        Defendant.
                   24

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COOLEY LLP
ATTORNEYS AT LAW                                                                               STIP. AND [PROP] ORDER RE
                                                                       1                                       SCHEDULE
                                                                                              CASE NO. 3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC            Document 238        Filed 10/24/24     Page 2 of 6



                    1          Pursuant to the Court’s order dated October 4, 2024 (ECF No. 211) and Civ. L.R. 7-12,

                    2   Plaintiffs Richard Kadrey, Sarah Silverman, Christopher Golden, Jacqueline Woodson, Andrew

                    3   Sean Greer, Rachel Louise Snyder, David Henry Hwang, Ta-Nehisi Coates, Laura Lippman,

                    4   Matthew Klam, Junot Díaz and Lysa Terkeurst (“Plaintiffs”); and Defendant Meta Platforms, Inc.

                    5   (“Defendant;” together with Plaintiffs, “Parties”) by and through their respective counsel stipulate

                    6   to the following:

                    7          WHEREAS, on October 4, 2024, the Court set a new fact discovery deadline of December

                    8   13, 2024, and a hearing on dispositive motions with respect to the named Plaintiffs’ claims for May

                    9   1, 2025;

                   10          WHEREAS, the Court ordered the Parties to meet and confer and file a stipulation as to

                   11   surrounding dates;

                   12          WHEREAS the Parties met and conferred and agreed upon the following deadlines;

                   13          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and through

                   14   Plaintiffs and Defendant, as represented by their undersigned counsel, the following schedule is

                   15   hereby agreed to and proposed to the Court:

                   16

                   17                       Case Event                                   Date
                   18
                            Meet and Confer re: Existing Written
                                                                                   October 16, 2024
                   19                   Discovery
                             Serve Additional Written Discovery
                   20                                                              October 18, 2024
                                          Requests
                   21          Exchange Supplemental Initial
                                                                                   October 21, 2024
                                       Disclosures
                   22
                              Letter Briefs re: Existing Written
                   23                                                              October 23, 2024
                                          Discovery
                   24
                                     Close of Fact Discovery            December 13, 2024 (Set by the Court)
                   25
                                   Opening Expert Reports Due                      January 10, 2025
                   26

                   27              Rebuttal Expert Reports Due                     February 3, 2025
                   28
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                                                                         1                                         SCHEDULE
                                                                                                  CASE NO. 3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC     Document 238       Filed 10/24/24    Page 3 of 6



                    1
                              Close of Expert Discovery                    February 26, 2025
                    2
                           Opening Summary Judgment and
                                                                             March 7, 2025
                    3             Daubert Briefs Due
                    4    Oppositions to Summary Judgment and
                                                                             April 3, 2025
                                  Daubert Briefs Due
                    5       Replies in Support of Summary
                                                                             April 17, 2025
                           Judgment and Daubert Briefs Due
                    6
                            Hearing on Summary Judgment
                                                                     May 1, 2025 (Set by the Court)
                    7                   Motions

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ATTORNEYS AT LAW                                                                          STIP. AND [PROP] ORDER RE
                                                                 2                                        SCHEDULE
                                                                                         CASE NO. 3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC          Document 238       Filed 10/24/24   Page 4 of 6



                    1
                         Dated: October 11, 2024                 Respectfully Submitted,
                    2

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                                                                      3                                         SCHEDULE
                                                                                               CASE NO. 3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC   Document 238       Filed 10/24/24   Page 5 of 6



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                                                               4                                       SCHEDULE
                                                                                      CASE NO. 3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC      Document 238        Filed 10/24/24    Page 6 of 6



                    1                                    PROPOSED ORDER

                    2        Pursuant to stipulation of the Parties, IT IS SO ORDERED.

                    3

                    4
                        DATED: __________________
                                October 24, 2024
                    5

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                    7                                           HON. VINCE CHHABRIA
                                                                United States District Judge
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ATTORNEYS AT LAW                                                                            STIP. AND [PROP] ORDER RE
                                                                   5                                        SCHEDULE
                                                                                           CASE NO. 3:23-CV-03417-VC
